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                                   United States District Court
                                      District Of Maryland

     Chambers of                                                                       101 West Lombard Street
Ellen Lipton Hollander                                                                 Baltimore, Maryland 21201
  District Court Judge                                                                       410-962-0742

                                                    February 7, 2024

      Jason Medinger, Esquire
       Assistant United States Attorney

      Gayle Horn, Esquire

      Renee Spence, Esquire

             Re:      Keyon Paylor v. United States of America
                      Criminal No.: ELH-14-0271, Related Civil No.: ELH-18-0745

      Dear Counsel:

             This letter summarizes our discussions during the lengthy scheduling conference held by
      telephone on February 7, 2024.

              As discussed, I have set a 90-day period of time for the parties to engage in and complete
      fact discovery, to include the deposition of Daniel Hersl, who is incarcerated. The government
      will attempt to alert Mr. Hersl of Mr. Paylor’s request to depose him. The government has also
      agreed to help facilitate the appointment of counsel for Mr. Hersl.

             It is my understanding that the relevant period of time for fact discovery extends to and
      includes the date of Mr. Paylor’s guilty plea on April 21, 2015. In light of the Fourth Circuit’s
      opinion in United States v. Paylor, the period after April 21, 2015, would not be of relevance.

             Upon the completion of fact discovery, the parties shall submit a status report, joint, if
      possible. The Court will hold a telephone scheduling conference at 5:00 p.m. on May 13, 2024.
      The government is to initiate the call to defense counsel and then to Chambers.

             Despite the informal nature of this letter, it is an Order of the Court and shall be docketed
      as such.
                                                                   Sincerely,


                                                                       /s/
                                                                   Ellen Lipton Hollander
                                                                   United States District Judge
